










Opinion issued October 30, 2008











In The
Court of Appeals
For The
First District of Texas




NO. 01-08-00498-CV




ONE 2002 CHEVROLET TAHOE,  Appellant

V.

STATE OF TEXAS,  Appellee




On Appeal from the 129th District Court 
Harris County, Texas
Trial Court Cause No. 2007-53682




MEMORANDUM OPINIONAppellant Gary J. Larson has neither established indigence, nor paid all the
required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless
indigent), 20.1 (listing requirements for establishing indigence); see also Tex. Gov’t
Code Ann. §§ 51.207 (Vernon 2005), 51.208 (Vernon Supp. 2008); 51.941(a)
(Vernon 2005), 101.041 (Vernon Supp. 2008) (listing fees in court of appeals); Fees
Civ. Cases B(1), (3) (listing fees in court of appeals).  After being notified that this
appeal was subject to dismissal, appellant Gary J. Larson did not adequately respond. 
See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing involuntary
dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We dismiss the appeal for nonpayment of all required fees.  We deny all
pending motions.
PER CURIAM
Panel consists of Justices Jennings, Hanks, and Bland.


